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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                    )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )       No. 18-CV-5369
                                            )
CAMBIUM NETWORKS, INC.                      )       Judge Feinerman
CAMBIUM NETWORKS, LTD.                      )
BLIP NETWORKS, INC.                         )
WINNCOM TECHNOLOGIES, INC.,                 )
SAKID AHMED, and                            )
DMITRY MOISEEV,                             )
                                            )
              Defendants.                   )

                               NOTICE OF JOINT MOTION

       PLEASE TAKE NOTICE that on July 1 at 9:00 a.m., or as soon thereafter as counsel shall

be heard, Defendants shall appear before the Honorable Judge Gary Feinerman or any judge sitting

in his stead in Courtroom 2125 of the Northern District of Illinois, Eastern Division, 219 South

Dearborn St., Chicago, Illinois and shall present Joint Motion for Leave to Exceed Local Rule

7.1 Page Limit.



Dated: June 25, 2019                            Respectfully submitted,

                                                CAMBIUM NETWORKS, INC.,
                                                CAMBIUM NETWORKS, LTD.,
                                                BLIP NETWORKS, INC.,
                                                WINNCOM NETWORKS, INC.,
                                                SAKID AHMED, and DMITRY MOISEEV


                                                /s/ G. Hopkins Guy III
                                                     One of their attorneys
                                                Arthur J. Gollwitzer (06225038)
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                                     Inc. et. al




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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2019, I electronically filed the foregoing Notice of Joint
Motion with the Clerk of the Court using the CM/ECF system. I certify that all participants in the
case are registered CM/ECF users.


                                              /s/ G. Hopkins Guy III




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